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UNITED STATES BANKRUPTCY COURT, sOUTHERN DISTRICT OF FLORIDA

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§;HAPTER 13 PLAN §lndividual Adjustm§gt of Debts[

 

 

 

 

 

[:] Original Plan
\:] Amended Plan (Indicate lst, 2nd, etc. Amended, if applicable)
m Modified Plan (Indicate lst, 2nd, etc. Modified, if applicable)
DEBTOR: Joseph Bontiglio JOINT DEBTOR: CASE NO.:
SS#: xxx-xx- ZL_ SS#: xxx-xx-
I. NOTICES
To Debtors: Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans

and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
Local Rules 2002-l (C)(S), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.

To Creditors: Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
be reduced, modified or eliminated

To All Parties: The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must check one
box on each line listed below in this section to state whether the plan includes any of the following:

 

 

 

 

The valuation of a secured cl ` set out in Section III, which ma result in a .

partial payment or no payme::]:t, all to the secured creditor y m Included l:| Not Included
Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set [] Included l-!-! Not included
out in Section 111

Nonstandard provisions, set out in Section VIII [:| Included [:] Not included

 

 

 

II. PLAN PAYMENTS. LENGTH OF PLAN AND DEBTOR(S)' A'ITORNEY'S FEE

A. MON'I'HLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee‘s
fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
amount will be paid to unsecured nonpriority creditors pro-rata under the plan:

 

 

 

l. $lz901.06 for months_L__to_§__ ;
2. 312898.86 for months __6__ to _6_0_ ;
3. $0.00 for months____ to ;
B. DEBTOR|S)' ATI'ORNEY'S FEE: [] NONE l:l PRO BONO
Total Fees: $3500.00 Total Paid: $400.00 Balance Due: $3100.00
Payable $200.00 /month (Months _l_ to __i_ )
Payable $l40.00 /month (Months _6_ to _2_0__ )

Allowed fees under LR 2016-l(B)(2) are itemized below:

 

 

Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
III. TREATMENT OF SECURED CLAlMS

A. SECURED CLAlMS: l:l NONE

[Retain Liens pursuant to ll U.S.C. §1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property:
l. Creditor: Nina Kohn

 

 

 

 

AddrCSSI 1102 BOt¢fO\ll’f Ga\’de“$, Arrearage/ Payofi` on Petition Date $54,453.29
Ul'lil§ . .
P ff lncl dm 7°/ monthl interest $1,078.24 /month Months l to 60 )
Norfon<, vA 23507 “y° ( “ g ° y ) -_-- ( - --

 

 

 

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Debtor(s): Joseph Bonfiglio Case number:

 

Last 4 Digits of
Account No.:

Other:

 

 

|:] Real Property
@>rincipal Residence

\:pther Real Property

Address of Collateral:
189 Normandy D
Delray Beach, FL

|:\ Personal Property/Vehicle

Description of Collateral:

Check one below for Real Property:
[:lEscrow is included in the regular payments

@The debtor(s) will pay l:]taxes [i|insurance directly

 

 

2. Creditor: Normandy D Association, Inc.

Address: 6300 Park of Commerce

 

 

 

[:l Personal Property/Vehicle

 

Description of Collateral:

Arrearage/ Payofi` on Petition Date $3,000.00
Blvd
A P C .
Boca Raton, FL 33487 news aymem( me) _--$_50-0-0-_- /m°mh (Months ._l_ t°.Q. )
Last 4 Digits of Regular Payment (Maintain) $400.00 /month (Months 1 to _§)_ )
Account No.:
Other:
[:l Real Property Check one below for Real Property:
[:Principal Residence [:]Escrow is included in the regular payments
[___pther Real Property ['_i]'l`he debtor(s) will pay [:|taxes @insurance directly
Address of Collateral:
189 Normandy D
Delray Beach, FL

 

 

B. VALUATION OF COLLATERAL: |:\ NONE

C. LIEN AVOlDANCE I:\ NONE

 

D. SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not receive a

 

distribution f`om the Chapter 13 Trustee.
E] NONE

E. DlRECT PAYMENTS: Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution

 

fom the Chapter 13 Trustee.
[:] NONE

[:] The debtor(s) elect to make payments directly to each secured creditor listed below, The debtor(s) request that upon
confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in personam as to any
codebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor(s)‘ state law contract rights.

Name of Creditor

Palm Beach County Tax
l' Collector

Last 4 Digits of Account No. Descriptign of Cgllateral lAddress, Vehicle, etc,1

189 Normandy D
Delray Beach, FL

IV. TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]
A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(SY ATTORNEY'S FEE: [:] NONE

B. IN'I`ERNAL REVENUE SERVICE: l'_i'_] NONE

C. DOMESTIC SUPPORT OBLlGATIQN§SL: I:] NONE

D. OTHER: iii NONE

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Debtor(s): Joseph Bonfiglio Case number:

V. TREATMENT OF UNSECURED NONPRIORITY CREDITORS
A. Pay $58.00 /month (Months 6 to § )

 

Pro rata dividend will be calculated by the Trustee upon review of filed claims afier bar date.
B. [:] If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.

C. SEPARATELY CLASSIFIED: [:I NONE
*Debtor(s) certify the separate classification(s) of the claim(s) listed above will not prejudice other unsecured nonpriority
creditors pursuant to 11 U.S.C. § 1322.
VI. EXECUTORY CONTRACTS AND UNEXP[RED LEASES: Secured claims filed by any creditor/lessor granted stay relief in this
section shall not receive a distribution from the Chapter 13 Trustee.

[E NONE
VII. INCOME TAX RETURNS AND REFUNDS: [___] NONE
[:] Debtor(s) will not provide tax returns unless requested by any interested party pursuant to 11 U.S.C. § 521.

VIII. NON-STANDARD PLAN PROVISIONS [:] NONE

 

 

PROPERTY OF THE ESTATE WILL VES'l` IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

Debtor Joint Debtor

Date Date

Joseph Bonfiglio

 

Attorney with permission to sign on Date
Debtor(s)' behalf

By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan

contains no nonstandard provisions other than those set out in paragraph VIII.

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